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                Exhibit 6
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     July 2021




                                   Venezuela Oil & Gas
                       The Creation of a New Modern Oil
                            Industry in Venezuela
                                             July 2021
                                           Location TBC



                           U.S. Department of Energy Con rmed to Speak


                                           Held in Houston


                               Under the Chatham House Rule - No Press




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        A Message from CWC & GFEn on Covid-19
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      Shape the Future of Venezuela's Oil & Gas
      Industry

      We are proud to have hosted the rst Venezuela’s Oil & Gas Summit,
      which took place on 9 & 10 December 2019 Houston, USA, gathering
      more than 100 professionals in the oil and gas industry who are looking
      at strategies to maximise the country’s hydrocarbon potential. The
      Summit brought together top experts in Venezuela’s oil and gas industry
      and representatives from the internationally recognised Government of
      Juan Guaidó to discuss the opportunities and next strategies to develop
      the country’s potential and ensure the next chapter will maximise the
      bene ts for the whole population.

      Over two full days of high level panel discussions, in – depth
      presentations and roundtable discussions, participants had the
      opportunity to discuss key topics such as: identi ying the full geology
      potential; infrastructure rehabilitation and reservoir optimization; the
       nancing and investment required to develop the industry; the
      important new hydrocarbon law to attract investment and other
      strategic opportunities in the oil and gas sector.

      The Summit provided a full panorama of Venezuela’s potential, current
      and future challenges but also how to overcome these and future
      scenarios for the full development of the energy sector in country. The
      potential of Venezuela’s energy sector is enormous and will play a pivotal
      role in providing new investment and opportunities for its citizens and
      businesses. The event will return the 8 & 9 December 2020, in
      Houston.




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                           Distinguished Speakers Include:

         Hear from top experts on the opportunities and next strategies to develop the country’s
                                                       potential:




                           Carlos Vecchio                                    Luis A. Pacheco
                       Ambassador of Venezuela                      President - Ad Hoc Administrative Board

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                      United States of America                                PDVSA




                        Alejandro Grisanti                              Beth Urbanas
                     Ad Hoc Member of the Board             Deputy Assistant Secretary for Asia and the
                                  PDVSA                                     Americas
                                                                   U.S. Department of Energy




                              Ali Moshiri                            Francisco Monaldi
                           CEO and President                  Fellow in Latin American Energy Policy
                          Amos Global Energy                  Baker Institute for Public Policy, Rice
                           & Former President                               University
                 Chevron Africa and Latin America




                                                                     César Mata-Garcia
                                                          Advisor, Energy, Petroleum & Mines Commission


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                                                               National Assembly of Venezuela




                                  Je   Sipes
            Manager of Strategy & Business Development
                                   Bechtel



                    VIEW ALL SPEAKERS (HTTPS://WWW.VENEZUELAOILGAS.COM/SPEAKERS/)


                 KEY TOPICS (HTTPS://WWW.VENEZUELAOILGAS.COM/BROCHURE-DOWNLOAD/)




                                   Roundtables at the Summit

      The Roundtable Networking Discussions were a central feature of this Summit.

      With participants representing all parts of the industry value chain from IOCs to
      Venezuelan companies the roundtables provided an excellent opportunity for delegates to
      discuss the key topics around the creation of a new modern oil industry in Venezuela in a
      frank, informal and open environment. The roundtable discussions were led by industry
      experts and the main topics were as follows:

      Roundtable 1: What can be done with the thousands of inactive wells?
      Juan Szabo, Energy Consultant

      Roundtable 2: Contractual considerations: What are the optimal contractual
      structure? What elements are important for investors?
      Vera de Brito de Gyarfas, Partner, Mayer Brown LLP


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      Roundtable 3: What is the reality of the security situation and what strategies and
      measures need be taken to work safely in Venezuela?
      Raul Gallegos, Director, Control Risks

      Roundtable 4: The New Venezuelan Hydrocarbon Law: What do companies want to
      know?
      Cesar Mata-Garcia, Advisor, Energy, Petroleum & Mines Commission, National Assembly of
      Venezuela




      Are you interested in Participating in the
      future of Venezuela’s Oil Industry?

             Come and meet top experts in Venezuela’s oil industry and explore future
              opportunities for your company?

             Find out about the new hydrocarbon law and the future investment climate

             Highlight the role your company could play in revitalizing Venezuela’s oil industry



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                                                   (https://www.bechtel.com/)




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            Supporting Organisation




                                                   ( http://vapa-us.org/)




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             (mailto:mkantar@thecwcgroup.com)

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      Summit Features

      These features have been designed with facilitating open, frank dialogue
      between participants



      The Summit has been designed with the participants in mind. There will be the following
      opportunities available:




      With participants representing IOCs, Government and local companies, the roundtables
      will provide an amazing opportunity for participants to discuss the key topics around the
      creation of a new modern oil industry in Venezuela in a frank, informal and open
      environment. Participants will be able to discuss directly with companies and Government
      and hear in-depth updates on the next steps and strategies to revitalise the Venezuelan oil
      and gas industry.




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      The Summit will also bring the opportunity for participants to engage in B2B meetings with
      Government to discuss the future plans for the development of the oil and gas industry in
      Venezuela. Don’t miss this unique opportunity to stay ahead of your competitors and hear
      the plans directly from top Venezuelan o cials. Meetings will be allocated on a rst come
        rst serve basis.

      The Summit is under Chatham House Rule.




            Be Part of the New Modern Oil Industry
            in Venezuela
            To get involved, please contact Mohamad Kantar on + 44 20 7978
            0081 or email: venezuela@thecwcgroup.com
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      July 2021




      Key Topics

      Ahead of the programme being released, view the key topics to be
      discussed



              Plans and vision for the creation of a new modern oil & gas industry
              Strategic opportunities in the oil and gas sector
              The key components of the new hydrocarbons law to attract investment
              Financing and investment required to develop the industry
              Infrastructure rehabilitation and reservoir optimization
              The role of cutting edge technology in boosting production
              Ensuring Venezuelans bene t from the revitalisation of the oil and gas industry

      The Summit will also discuss the opportunities available for Venezuelan businesses,
      how knowledge transfer and partnerships with international companies will have a
      long lasting impact in the local economy and the creation of a new modern oil and
      gas industry in Venezuela.

      The Summit will be under Chatham House Rule and therefore there will be NO PRESS
      allowed inside the Summit.




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